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                      IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF CONNECTICUT

 NATIONAL ASSOCIATION FOR GUN RIGHTS,                     )
 and TONI THERESA SPERA FLANIGAN                          )
       Plaintiffs,                                        )
                                                          )
 v.                                                       )         Civil Action No.
                                                          )       3:22 CV 1118 (JBA)
 NED LAMONT, is his official capacity as the              )
 Governor of the State of Connecticut;                    )
 PATRICK J. GRIFFIN, is his official capacity as the      )
 Chief State’s Attorney of the State of Connecticut;      )
 and SHARMESE L. WALCOTT, in her official                 )
 capacity as the State’s Attorney, Hartford Judicial      )
 District,                                                )
         Defendants.                                      )        November 3, 2022
                                                          )

                    MEMORANDUM OF LAW IN SUPPORT OF
               PLAINTIFF’S MOTION FOR PRELIMINARY INJUNCTION

       The Plaintiffs submit the following Memorandum of Law in support of their Motion

for Preliminary Injunction against Defendants (collectively, the “State”).

       Certification: The undersigned has conferred with counsel for defendants.

Defendants oppose this motion.

                                     INTRODUCTION

       This action challenges the constitutionality of CONN. GEN. Stat. § 53-202c(a) and

CONN. GEN. STAT. § 53-202w(b) and (c) (collectively, the “Statutes”). The Statutes ban

(1) certain semi-automatic firearms that are held by millions of law-abiding American

citizens for lawful purposes and (2) certain firearm magazines that are held by millions

of law-abiding American citizens for lawful purposes. The Second Amendment protects

the right of law-abiding citizens to own weapons in common use by law-abiding citizens

for lawful purposes. D.C. v. Heller, 554 U.S. 570, 627 (2008). Thus, these provisions of


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the Statutes are unconstitutional. Accordingly, Plaintiffs hereby move the Court to enter

a preliminary injunction enjoying the State from enforcing these unconstitutional

provisions of the Statutes.

                                          FACTS

       1.     CONN. GEN. STAT. § 53-202a(1) defines the term “assault weapon.” The

term “assault weapon” as used in the Statutes is not a technical term used in the

firearms industry or community for firearms commonly available to civilians.

Brown Dec. ¶ 3. Instead, the term is a rhetorically charged political term meant to stir

the emotions of the public against those persons who choose to exercise their

constitutional right to possess certain semi-automatic firearms that are commonly

owned by millions of law-abiding American citizens for lawful purposes. Id. Plaintiffs

refuse to adopt State’s politically charged rhetoric. Therefore, for purposes of this

Motion, the term “Banned Firearm” shall have the same meaning as the term “assault

weapon” in CONN. GEN. STAT. § 53-202a(1).

       2.     CONN. GEN. Stat. § 53-202c(a) providers that any person within the State

who possesses a Banned Firearm shall be guilty of a class D felony.

       3.     CONN. GEN. STAT. § 53-202w(a)(1) defines the term “large-capacity

magazine” to mean any firearm magazine capable of holding more than ten rounds of

ammunition. The Statutes again use politically charged rhetoric to describe the arms it

bans. Brown Dec. ¶ 4. The Statutes’ characterization of these magazines as “large

capacity” is a misnomer. Id. Magazines capable of holding more than 10 rounds are

standard capacity magazines. Id. Plaintiffs refuse to adopt the State’s politically charged

rhetoric in this Motion. Therefore, for purposes of this Motion, the term “Banned


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Magazine” shall have the same meaning as the term “large-capacity magazine” in

CONN. GEN. STAT. § 53-202w(a)(1).

      4.        CONN. GEN. STAT. § 53-202w(b) and (c) generally state that any person

who within the State, possesses, distributes, imports, keeps for sale, offers or exposes

for sale, transfers, or purchases a Banned Magazine shall be guilty of a class D felony.

      5.        Plaintiff Toni Flanigan and NAGR’s members on whose behalf this action

is brought are residents of the State and law-abiding citizens of the United States.

Flanigan Dec. ¶ 3; Brown Dec. ¶ 6. They are otherwise eligible under the laws of the

United States and the State to receive and possess firearms and magazines, including

the Banned Firearms and Banned Magazines. Id. They intend to and, but for the

credible threat of prosecution under the Statutes, would acquire Banned Firearms and

Banned Magazines to keep in their homes for self- defense and for other lawful

purposes. Id.

      6.        At least 20 million semi-automatic firearms such as those defined as

“assault weapons” are owned by millions of American citizens who use those firearms

for lawful purposes. Declaration of James Curcuruto ¶ 6. Mr. Curcuruto’s declaration

was originally submitted in Rocky Mountain Gun Owners, et al. v. Town of Superior, 22-

CV-1685-RM. It is used with permission in this action.

      7.        At least 150 million magazines with a capacity greater than ten rounds are

owned by law-abiding American citizens, who use those magazines for lawful purposes.

Declaration of James Curcuruto ¶ 7.

                STANDARD FOR GRANTING PRELIMINARY INJUNCTION




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       To obtain a preliminary injunction against governmental action taken pursuant to

a statute, the movant must demonstrate (1) irreparable harm absent injunctive relief, (2)

a likelihood of success on the merits, and (3) public interest weighing in favor of

granting the injunction. A.H. by & through Hester v. French, 985 F.3d 165, 176 (2d Cir.

2021) (cleaned up). The movant also must show that the balance of equities tips in his

or her favor. Id. In cases alleging constitutional injury, a strong showing of a

constitutional deprivation that results in noncompensable damages ordinarily warrants a

finding of irreparable harm. Id. Therefore, “[l]ikelihood of success on the merits is [] ‘the

dominant, if not the dispositive, factor.’ Id., quoting New York Progress & Prot. PAC

v. Walsh, 733 F.3d 483, 488 (2d Cir. 2013). See also Joelner v. Vill. of Wash. Park, 378

F.3d 613, 620 (7th Cir.2004) (“When a party seeks a preliminary injunction on the basis

of a potential First Amendment violation, the likelihood of success on the merits will

often be the determinative factor.”)1

          THE GOVERNMENT BEARS THE BURDEN OF DEMONSTRATION

       In New York State Rifle & Pistol Ass’n, Inc. v. Bruen, 142 S. Ct. 2111 (2022), the

Supreme Court unambiguously placed on the government a substantial burden of

demonstrating that any law seeking to regulate firearms is consistent with this Nation’s

historical tradition of firearm regulation. 2 Specifically, the Court stated:



       1 These were First Amendment cases, but that difference does not matter,

because in Bruen, infra, the Supreme Court held that Second Amendment rights should
be protected in the same way First Amendment rights are protected. Id., 142 S. Ct. at
2130.
       2 “Significantly, the plaintiff need not demonstrate the absence of regulation in

order to prevail; the burden rests squarely on the government to establish that the
activity has been subject to some measure of regulation.” Friedman v. City of Highland
Park, Illinois, 784 F.3d 406, 415 (7th Cir. 2015) (Manion, J., dissenting).
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        “To support that [its claim that its regulation is permitted by the Second
        Amendment], the burden falls on [the government] to show that New York’s
        proper-cause requirement is consistent with this Nation’s historical tradition
        of firearm regulation. Only if respondents carry that burden can they show
        that the pre-existing right codified in the Second Amendment, and made
        applicable to the States through the Fourteenth, does not protect
        petitioners’ proposed course of conduct.”

Bruen, 142 S. Ct. at 2135.
        In this case, the Second Amendment’s plain text covers Plaintiffs’ conduct in

seeking to acquire bearable arms. Bruen, 142 S. Ct. at 2132 (“the Second Amendment

extends, prima facie, to all instruments that constitute bearable arms”). Accordingly,

Plaintiff’s conduct is presumptively protected by the Second Amendment. Bruen, 142

S. Ct. at 2126 (“when the Second Amendment’s plain text covers an individual’s

conduct, the Constitution presumptively protects that conduct”). The government may

attempt to rebut that presumption by demonstrating that its law is consistent with this

Nation’s historical tradition of firearm regulation. If the government attempts to meet

that burden in its response, Plaintiff will have an opportunity to submit rebuttal evidence

in its reply.

                                       ARGUMENT

I.      The Supreme Court has Reaffirmed the Heller Standard

        A.      A Regulation Burdening the Right to Keep and Bear Arms is
                Unconstitutional Unless it is Consistent with the Text of the Second
                Amendment and the Nation’s History and Traditions

        In Bruen, the Court rejected the two-part balancing test for Second Amendment

challenges that several courts of appeal adopted in the wake of Heller and McDonald v.

City of Chicago, Ill., 561 U.S. 742 (2010). Instead, it reiterated the Heller standard,

which it summarized as follows:


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       “Today, we decline to adopt that two-part approach. In keeping with Heller,
       we hold that when the Second Amendment’s plain text covers an
       individual’s conduct, the Constitution presumptively protects that conduct.
       To justify its regulation, the government may not simply posit that the
       regulation promotes an important interest. Rather, the government must
       demonstrate that the regulation is consistent with this Nation’s historical
       tradition of firearm regulation. Only if a firearm regulation is consistent with
       this Nation’s historical tradition may a court conclude that the individual’s
       conduct falls outside the Second Amendment’s unqualified command.”

Bruen, 142 S. Ct. at 2126 (internal quotation marks omitted).

       The Bruen court spent significant time describing how lower courts are to

proceed in Second Amendment cases. As particularly relevant here, Bruen described

the proper analysis of the term “arms.” That word, Bruen affirmed, has a “historically

fixed meaning” but one that “applies to new circumstances.” Id. at 2132. It thus “covers

modern instruments that facilitate armed self-defense.” Id., citing Caetano v.

Massachusetts, 577 U.S. 411, 411-412 (2016) (per curiam) (stun guns). Accordingly,

the text of the Second Amendment “extends, prima facie, to all instruments that

constitute bearable arms, even those that were not in existence at the time of the

founding.” Id.

       The Court then explained that “[m]uch like we use history to determine which

modern ‘arms’ are protected by the Second Amendment, so too does history guide our

consideration of modern regulations that were unimaginable at the founding.” Id. In

considering history, courts are to engage in “reasoning by analogy.” Id. This analogical

reasoning requires the government to identify a well-established and representative

historical analogue to the challenged regulation. Id. at 2133. But to be a genuine

“analogue,” the historical tradition of regulation identified by the government must be

“relevantly similar” to the restriction before the Court today. Id. at 2132. Two metrics are


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particularly salient in determining if a historical regulation is relevantly similar: [1] how

and [2] why the regulations burden a law-abiding citizen’s right to armed self-defense.

Id. at 2133. By considering these two metrics, a court can determine if the government

has demonstrated that a modern-day regulation is analogous enough to historical

precursors that the regulation may be upheld as consistent with the Second

Amendment’s text and history. Id.

       As noted above, the Court held that the judicial balancing of means and ends

pursuant to intermediate scrutiny review plays no part in Second Amendment analysis.

“Heller does not support applying means-end scrutiny.” Id., 142 S. Ct. at 2127; see also

Id., 142 S. Ct. at 2129 (inquiry into the statute’s alleged “salutary effects” upon

“important governmental interests” is not part of the test).

       B.     Only “Dangerous and Unusual Arms” Can be Banned Consistent
              with Our History and Tradition

       This case involves a blanket prohibition on two classes of arms. Both Bruen and

Heller identified only one aspect of the nation’s history and tradition that is sufficiently

analogous to – and therefore capable of justifying – such a ban: the tradition, dating

back to the Founding, of restricting “dangerous and unusual weapons.” Bruen, 142 S.

Ct. at 2128. By contrast, where a type of arm is in common use, there is, by definition,

no historical tradition of banning it. Thus, for the type of restriction at issue in this case,

the Court has already analyzed the relevant historical tradition and established its

scope: “dangerous and unusual” weapons may be subject to a blanket ban, but arms “in

common use at the time” may not be. Id.

       The Heller test is based on historical practice and “the historical understanding of

the scope of the right,” but with reference to modern realities of firearm ownership.

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Heller, 554 U.S. at 625; see also Bruen, 142 S. Ct. at 2131 (“The test that we set forth in

Heller and apply today requires courts to assess whether modern firearms regulations

are consistent with the Second Amendment’s text and historical understanding.”) In

summary, in the context of blanket bans on bearable arms, the Supreme Court has

already done the historical spadework, and the only restrictions of this kind that it has

deemed consistent with the historical understanding of the right to keep and bear arms

are restrictions limited to dangerous and unusual arms that are not in common use.

       This Court’s task is therefore a simple one: it merely must determine whether the

banned arms are “dangerous and unusual.” Importantly, this is a “conjunctive test: A

weapon may not be banned unless it is both dangerous and unusual.” Caetano, 577

U.S. at 417 (Alito, J., concurring). An arm that is in common use for lawful purposes is,

by definition, not unusual. Such an arm therefore cannot be both dangerous and

unusual and therefore cannot be the subjected to a blanket ban. Bruen, 142 S. Ct. at

2143; Heller, 554 U.S. at 629.

       Importantly, the burden remains on the government to justify its regulation.

“Plaintiffs do not have to shoulder the burden of proving that they are entitled to enjoy

Second Amendment rights.” Rigby v. Jennings, 2022 WL 4448220, at *7 (2022) (internal

citation and quotation marks omitted). The Second Amendment commands that the

right to keep and bear arms ‘shall not be infringed.’ It follows that when a citizen

complains in a facial challenge that the government is infringing, then it is the

government that must carry the burden of justifying its restriction of Second Amendment

rights. Id. The correct starting orientation is that no arm may be prohibited. Id. If a




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plaintiff challenges the government’s prohibition, it the government burden to prove the

banned arm is dangerous and unusual. Id.

       To determine whether an arm is “unusual” the Supreme Court has likewise made

clear that the Second Amendment focuses on the practices of the American people

nationwide, not just, say, in this State. See id. at 2131 (“It is this balance – struck by the

traditions of the American people – that demands our unqualified deference.”); Heller,

554 U.S. at 628 (handguns are “overwhelmingly chosen by American society” for self-

defense); Caetano, 577 U.S. at 420 (Alito, J., concurring) (“stun guns are widely owned

and accepted as a legitimate means of self-defense across the country”). Therefore, the

Second Amendment protects those who live in states or localities with a less robust

practice of protecting the right to keep and bear firearms from outlier legislation (like the

State’s ban here) just as much as it protects those who live in jurisdictions that have

hewed more closely to America’s traditions.

       Furthermore, courts and legislatures do not have the authority to second-guess

the choices made by law-abiding citizens by questioning whether they really “need” the

arms that ordinary citizens have chosen to possess. While Heller noted several reasons

that a citizen may prefer a handgun for home defense, the Court held that “[w]hatever

the reason, handguns are the most popular weapon chosen by Americans for self-

defense in the home, and a complete prohibition of their use is invalid.” Id., 554 U.S. at

629. The Court reaffirmed that the traditions of the American people, which includes

their choice of preferred firearms, demand the courts’ “unqualified deference.” Id., 142

S. Ct. at 2131.




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       As set forth below, the Banned Firearms and the Banned Magazines are

“typically possessed by law-abiding citizens for lawful purposes.” Under Heller and

Bruen, that is the end of the analysis. The Second Amendment “[does] not

countenance a complete prohibition on the use of the most popular weapon chosen by

Americans for self-defense in the home.” Id., 142 S. Ct. at 2128 (internal quotation

marks omitted).

       Finally, the Second Amendment inquiry focuses on the choices commonly made

by contemporary law-abiding citizens. Heller rejected as “bordering on the frivolous” “the

argument . . . that only those arms in existence in the 18th century are protected,” Id. at

582. And in Caetano, the Supreme Court reiterated this point, holding that arms

protected by the Second Amendment need not have been in existence at the time of the

Founding. 577 U.S. 411-12, quoting Heller, 554 U.S. at 582. The Caetano Court flatly

denied that a particular type of firearm’s being “a thoroughly modern invention” is

relevant to determining whether the Second Amendment protects it. Id. And Bruen

cements the point. Responding to laws that allegedly restricted the carrying of

handguns during the colonial period, the Court reasoned that “even if these colonial

laws prohibited the carrying of handguns because they were considered ‘dangerous and

unusual weapons’ in the 1690s, they provide no justification for laws restricting the

public carry of weapons that are unquestionably in common use today.” Bruen, 142 S.

Ct. at 2143.

II.    The Second Circuit’s Decision in Cuomo is no Longer Good Law

       This Court is bound by prior decisions of the Second Circuit unless and until the

precedents established therein have been reversed by the Supreme Court. In re Arab


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Bank, PLC Alien Tort Statute Litig., 808 F.3d 144, 154–55 (2d Cir. 2015).3 There is,

however, an exception to this rule when an intervening Supreme Court decision casts

doubt on the Second Circuit’s precedent. Id. (cleaned up). For this exception to apply,

the intervening decision need not address the precise issue already decided by the

Second Circuit. Id. Instead, there must be a conflict, incompatibility, or inconsistency

between the Second Circuit’s precedent and the intervening Supreme Court decision.

Id. If the impact of the intervening Supreme Court decision is fundamental it requires

this Court to conclude that the prior Second Circuit decision no longer good law. Id.

(cleaned up). Such is the case here.

       In Kachalsky v. Cnty. of Westchester, 701 F.3d 81 (2d Cir. 2012), abrogated by

New York State Rifle & Pistol Ass’n, Inc. v. Bruen, 142 S. Ct. 2111 (2022), the Second

Circuit considered a regulation of what it deemed to be a right that was not at the core

of Second Amendment protections. Id., 701 F.3d at 93. The Court applied intermediate

scrutiny and upheld the regulation because it was “substantially related to the

achievement of an important governmental interest.” Id., 701 F.3d at 93.

       In New York State Rifle & Pistol Ass’n, Inc. v. Cuomo, 804 F.3d 242 (2d Cir.

2015), the Court considered a challenge to a ban on so-called “assault weapons” and

so-called “high capacity magazines” that was practically identical to the ban at issue in

this case. Expressly relying on Kachalsky, the Court announced a two-step means-end

scrutiny test, which it described as follows:

       [T]his Circuit has begun to develop a framework for determining the
       constitutionality of firearm restrictions. It requires a two-step inquiry. First,
       we consider whether the restriction burdens conduct protected by the

       3 as amended (Dec. 17, 2015), aff’d sub nom. Jesner v. Arab Bank, PLC, 200 L.

Ed. 2d 612, 138 S. Ct. 1386 (2018).
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      Second Amendment. If the challenged restriction does not implicate
      conduct within the scope of the Second Amendment, our analysis ends and
      the legislation stands. Otherwise, we move to the second step of our
      inquiry, in which we must determine and apply the appropriate level of
      [means-end] scrutiny.

Id. 804 F.3d at 254.

      The Second Circuit’s actual holding in Kachalsky was expressly abrogated in

Bruen. Id., 142 S. Ct. at 2127. The Supreme Court did not expressly abrogate Cuomo

in Bruen. The Supreme Court did, however, expressly reject in no uncertain terms the

mode of review applied by the Second Circuit in that case. First, the Supreme Court

described the mode of Second Amendment analysis that had been adopted by several

circuit courts (including the Second Circuit in Cuomo):

      Since Heller and McDonald, the two-step test that Courts of Appeals have
      developed to assess Second Amendment claims proceeds as follows. At
      the first step, the government may justify its regulation by establishing that
      the challenged law regulates activity falling outside the scope of the right as
      originally understood. The Courts of Appeals then ascertain the original
      scope of the right based on its historical meaning. If the government can
      prove that the regulated conduct falls beyond the Amendment’s original
      scope, then the analysis can stop there; the regulated activity is
      categorically unprotected. But if the historical evidence at this step is
      inconclusive or suggests that the regulated activity is not categorically
      unprotected, the courts generally proceed to step two.

      At the second step, courts often analyze how close the law comes to the
      core of the Second Amendment right and the severity of the law’s burden
      on that right. The Courts of Appeals generally maintain that the core
      Second Amendment right is limited to self-defense in the home. If a core
      Second Amendment right is burdened, courts apply strict scrutiny and ask
      whether the Government can prove that the law is narrowly tailored to
      achieve a compelling governmental interest. Otherwise, they apply
      intermediate scrutiny and consider whether the Government can show that
      the regulation is substantially related to the achievement of an important
      governmental interest. Kachalsky, 701 F.3d at 96.

Bruen, 142 S. Ct. at 2126–27 (cleaned up).



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       After describing the test developed by the courts of appeals after Heller and

McDonald, the Supreme Court rejected it:

       Despite the popularity of this two-step approach, it is one step too many.
       Step one of the predominant framework is broadly consistent with Heller,
       which demands a test rooted in the Second Amendment’s text, as informed
       by history. But Heller and McDonald do not support applying means-end
       scrutiny in the Second Amendment context. Instead, the government
       must affirmatively prove that its firearms regulation is part of the historical
       tradition that delimits the outer bounds of the right to keep and bear arms.

Id, 142 S. Ct. at 2126–27 (cleaned up; emphasis added).

       In summary, therefore, the Seventh Circuit’s holding in New York State Rifle &

Pistol Ass’n, Inc. v. Cuomo is fundamentally incompatible with Bruen. It follows that

Cuomo is no longer good law.

III.   The State’s Prohibition on Possession of Banned Firearms is
       Unconstitutional

       A.     Introduction

       Under Bruen, “when the Second Amendment’s plain text covers an individual’s

conduct, the Constitution presumptively protects that conduct. Bruen, 142 S. Ct. at

2126. To justify its regulation, the government . . . must demonstrate that the regulation

is consistent with this Nation’s historical tradition of firearm regulation.” Id. Here, the

Second Amendment’s plain text covers the Banned Firearms, so it falls to the State to

attempt to justify its law as consistent with historical tradition rooted in the Founding. It

cannot possibly do so, because the Banned Firearms are commonly possessed by law

abiding citizens, and Bruen has already established that, by definition, there cannot be a

tradition of banning an arm if it is commonly possessed.




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       B.     The Banned Firearms are in Common Use

       This case thus reduces to the following, straightforward inquiry: are the arms

banned by the State in “common use,” according to the lawful choices by contemporary

Americans? They unquestionably are. There is no class of firearms known as “assault

weapon.” “Prior to 1989, the term ‘assault weapon’ did not exist in the lexicon of

firearms. It is a political term, developed by anti-gun publicists . . .” Stenberg v. Carhart,

530 U.S. 914, 1001 (2000) at n. 16 (Thomas, J., dissenting). But while “assault weapon”

is not a recognized category of firearms, “semiautomatic rifle” is. And it is semiautomatic

rifles that the State’s “assault weapon” ban targets. The “automatic” part of

“semiautomatic” refers to the fact that the user need not manually load another round in

the chamber after each round is fired. But unlike an automatic rifle, a semiautomatic rifle

will not fire continuously on one pull of its trigger; rather, a semiautomatic rifle requires

the user to pull the trigger each time he or she wants to discharge a round. See Staples

v. United States, 511 U.S. 600, 602 (1994) at n. 1.

       There is therefore a significant practical difference between a truly automatic and

a merely semiautomatic rifle. According to the United States Army, for example, the

maximum effective rates of fire for various M4- and M16-series firearms is between

forty-five and sixty-five rounds per minute in semiautomatic mode, versus 150-200

rounds per minute in automatic mode. Dept. of the Army, RIFLE MARKSMANSHIP:

ML6-/M4-SERIES WEAPONS, 2-1 tbl. 2-1 (2008), available at https://bit.ly/3pvS3SW.

       There is a venerable tradition in this country of lawful private ownership of

semiautomatic rifles. The Supreme Court has held as much. In Staples, it concluded

that semiautomatics, unlike machine guns, “traditionally have been widely accepted as


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lawful possessions.” Staples, 511 U.S. at 612. Semiautomatic rifles have been

commercially available for over a century. See Heller v. District of Columbia (“Heller II”),

670 F.3d 1244, 1287 (D.C. Cir. 2011) (Kavanaugh, J., dissenting); David B. Kopel,

Rational Basis Analysis of “Assault Weapon” Prohibition, 20 J. CONTMP. L. 381, 413

(1994).

       In contrast to this long history of legal ownership of semi-automatic rifles, the first

“assault weapon” ban was not enacted until California did so in 1989, a full 200 years

after the Constitution became effective. Obviously, that is far too late to demonstrate

anything about the original meaning of the Second or Fourteenth Amendment, no

matter which is the relevant historical reference point. Bruen, 142 S.Ct. at 2126

(cautioning against giving post enactment history more weight than it can rightly bear).

Even today, the vast majority of states (42 out of 50)4, do not ban semiautomatic

weapons that would be deemed “assault weapons” under the statute at issue in this

action.5

       Thus, there is no historical tradition of banning semi-automatic firearms. This is

borne out by the fact that millions of law-abiding citizens choose to possess firearms in

that category. Duncan v. Becerra (“Duncan IV”), 970 F.3d 1133, 1147 (9th Cir. 2020)


       4 The federal government banned semi-automatic rifles from 1994 to 2004 when

Congress allowed that law after the Justice Department concluded that it produced “no
discernible reduction” in gun violence. Christopher S. Koper, Assessing the Potential to
Reduce Deaths and Injuries from Mass Shootings Through Restrictions on Assault
Weapons and Other High-Capacity Semiautomatic Firearms, 19 Crim’y & Pub. Pol’y 96
(2020).
       5 The bans and the year each was enacted are: CAL. PENAL CODE §§ 30600,

30605 (1989); N.J. STAT. §§ 2C:39-5(f), 2C:39-9(g) (1990); HAW. REV. STAT. § 134-8(a)
(1992); CONN. GEN. STAT. § 53-202c (1993); MD. CODE ANN., CRIM. LAW §§ 4-301, 4-303
(1994); MASS. GEN. LAWS ch. 140, § 131M (1994); N.Y. PENAL LAW §§ 265.02(7),
265.10(1)-(3) (2000); 11 DEL. CODE § 1466 (2022).
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(“Commonality is determined largely by statistics.”); Ass’n of N.J Rifle & Pistol Clubs,

Inc. v. Att’y Gen., 910 F.3d 106, 116 (3d Cir. 2018) (finding an arm is commonly owned

because the record shows that “millions” are owned); New York State Rifle & Pistol Ass

‘n, Inc. v. Cuomo, 804 F.3d 242, 255 (2d Cir. 2015) (“Even accepting the most

conservative estimates cited by the parties and by amici, the assault weapons at issue

are ‘in common use’ as that term was used in Heller.”); Heller II, 670 F.3d at 1261 (“We

think it clear enough in the record that semi-automatic rifles . . . are indeed in ‘common

use.’”).

       The AR-15 is America’s “most popular semi-automatic rifle,” Heller II, 670 F.3d at

1287 (Kavanaugh, J., dissenting), and in recent years it has been “the best-selling rifle

type in the United States,” Nicholas J. Johnson, Supply Restrictions at the Margins of

Heller and the Abortion Analogue, 60 HASTINGS L.J. 1285, 1296 (2009); see also

Duncan v. Becerra (“Duncan III”), 366 F. Supp. 3d 1131, 1145 (S.D. Cal. 2019).

       This issue was addressed in Kolbe v. Hogan, 849 F.3d 114 (4th Cir. 2017),

abrogated by Bruen, supra. In his dissent (which, after Bruen, likely represents the

correct interpretation of the law), Judge Traxler stated:

       “It is beyond any reasonable dispute from the record before us that a
       statistically significant number of American citizens possess semiautomatic
       rifles (and magazines holding more than 10 rounds) for lawful purposes.
       Between 1990 and 2012, more than 8 million AR- and AK- platform
       semiautomatic rifles alone were manufactured in or imported into the
       United States. In 2012, semiautomatic sporting rifles accounted for twenty
       percent of all retail firearms sales. In fact, in 2012, the number of AR- and
       AK- style weapons manufactured and imported into the United States was
       more than double the number of the most commonly sold vehicle in the
       U.S., the Ford F-150. In terms of absolute numbers, these statistics lead to
       the unavoidable conclusion that popular semiautomatic rifles such as the
       AR-15 are commonly possessed by American citizens for lawful purposes
       within the meaning of Heller.”

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Id., 849 F.3d at 153, Traxler, J. dissenting (internal citations and quotation marks
omitted).

       Today, the number of AR-rifles and other modern sporting rifles in circulation in

the United States exceeds twenty-four million. The Firearms Industry Trade Ass’n,

Commonly Owned: NSSF Announces Over 24 Million MSRS in Circulation, (July 20,

2022), available at https://bit.ly/3pUj8So.6

       According to industry sources, as of 2018, roughly thirty-five percent of all newly

manufactured guns sold in America are modern semiautomatic rifles, Bloomberg, Why

Gunmakers Would Rather Sell AR-15s Than Handguns, FORTUNE (June 20, 2018),

available at https://bit.ly/3R2kZ3s, and an estimated 5.4 million Americans purchased

firearms for the first time in 2021. The Firearms Industry Trade Ass’n, NSSF Retailer

Surveys Indicate 5.4 million First-Time Gun Buyers in 2021, (Jan. 25, 2022), available at

https://bit.ly/3dV6RKI. In fact, a recent survey of gun owners estimated that 24.6 million

Americans have owned AR-15 or similar rifles. See William English, 2021 National

Firearms Survey: Updated Analysis Including Types of Firearms Owned at 1 (May 13,

2022), available at https://bit.ly/3yPfoHw .

       AR-style rifles are commonly and overwhelmingly possessed by law-abiding

citizens for lawful purposes. In a 2021 survey of 16,708 gun owners, recreational target

shooting was the most common reason (cited by 66% of owners) for possessing an AR-

style firearm, followed closely by home defense (61.9% of owners) and hunting (50.5%

of owners). English, supra, at 33-34. This is consistent with the findings of an earlier



       6 See also Declaration of James Curcuruto ¶ 6 (“At least 20 million semi-

automatic firearms such as those defined as “assault weapons” are owned by millions of
American citizens who use those firearms for lawful purposes.”
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2013 survey of 21,942 confirmed owners of such firearms, in which home-defense

again followed (closely) only recreational target shooting as the most important reason

for owning these firearms. See also Friedman v. City of Highland Park, 68 F. Supp. 3d

895, 904 (N.D. Ill. 2014), aff’d 784 F.3d 406 (7th Cir. 2015). “An additional survey

estimated that approximately 11,977,000 people participated in target shooting with a

modern sporting rifle.” Id. Indeed the “AR-15 type rifle . . . is the leading type of firearm

used in national matches and in other matches sponsored by the congressionally

established Civilian Marksmanship program.” Shew v. Malloy, 994 F. Supp. 2d 234, 245

n.40 (D. Conn. 2014).

       The fact that “assault” rifles are used extremely rarely in crime underscores that

AR-15s and other Banned Firearms are commonly possessed by law-abiding citizens

for lawful purposes. Evidence indicates that “well under 1% [of crime guns] are ‘assault

rifles.’” Gary Kleck, TARGETING GUNS: FIREARMS AND THEIR CONTROL 112 (1997). This

conclusion is borne out by FBI statistics. In the five years from 2015 to 2019 (inclusive),

there were an average of 14,556 murders per year in the United States. On average,

rifles of all types (of which so-called “assault weapons” are a subset) were identified as

the murder weapon in 315 murders per year. U.S. Dept. of Just., Expanded Homicide

Data Table 8: Murder Victims by Weapon, 2015-2019, Crime in the United States, 2019,

FBI, available at https://bit.ly/31WmQ1V. By way of comparison, on average 669

people are murdered by “personal weapons” such as hands, fists and feet. Id.

According to the FBI, a murder victim is more than twice as likely to have been killed by

hands and feet than by a rifle of any type.




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       Even in the counterfactual event that a modern semiautomatic rifle had been

involved in each rifle-related murder from 2015 to 2019, an infinitesimal percentage of

the approximately 24 million modern sporting rifles in circulation in the United States

during that time period –around .001 percent – would have been used for that unlawful

purpose. More broadly, as of 2016, only 0.8 percent of state and federal prisoners

reported using any kind of rifle during the offense for which they were serving time.

Mariel Alper & Lauren Glaze, Source and Uses of Firearms Involved in Crimes: Survey

of Prison Inmates, 2016, U.S. DEPT OF JUST., OFF. OF JUST. PROGS., BUREAU OF

JUST. STATS. 5 tbl. 3 (Jan. 2019), available at https://bit.ly/31VjRa9

       Finally, the Supreme Court’s decision in Caetano further confirms that the arms

banned by the State are in common use. That case concerned Massachusetts’s ban on

the possession of stun guns, which that state’s highest court had upheld on the ground

that such weapons are not protected by the Second Amendment. Id., 577 U.S. at 411.

In a brief per curiam opinion, the Supreme Court vacated that decision. Id. at 411-12.

Though the Court remanded the case back to the state court without deciding whether

stun guns are constitutionally protected, Justice Alito filed a concurring opinion

expressly concluding that those arms “are widely owned and accepted as a legitimate

means of self-defense across the country,” based on evidence that “hundreds of

thousands of Tasers and stun guns have been sold to private citizens.” Id. at 420 (Alito,

J., concurring) (cleaned up) (citation omitted). If hundreds of thousands” of arms

constitute wide ownership, a fortiori so does the tens of millions of semiautomatic rifles

sold to private citizens nationwide.




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       The Massachusetts court got the message. In a subsequent case, that court,

relying on Caetano, held that because “stun guns are ‘arms’ within the protection of the

Second Amendment,” the state’s law barring “civilians from possessing or carrying stun

guns, even in their home, is inconsistent with the Second Amendment and therefore

unconstitutional.” Ramirez v. Commonwealth, 94 N.E.3d 809, 815 (Mass. 2018). The

Illinois Supreme Court followed suit with a similar ruling in 2019, relying on Caetano and

Ramirez to conclude that “[a]ny attempt by the State to rebut the prima facie

presumption of Second Amendment protection afforded stun guns and tasers on the

grounds that the weapons are uncommon or not typically possessed by law-abiding

citizens for lawful purposes would be futile.” People v. Webb, 131 N.E. 3d 93, 96 (Ill.

2019). This reasoning is sound, and it necessarily entails the invalidity of the State’s

blanket ban, which restricts arms that are many times more common than stun guns.

III.   The State’s Prohibition on Possession of Banned Magazines is
       Unconstitutional

       A.      Magazines Capable of Holding More Than 10 Rounds Are in
               Common Use

       Magazines are indisputably “arms” protected by the Second Amendment, as the

right to keep and bear arms necessarily includes the right to keep and bear components

such as ammunition and magazines that are necessary for the firearm to operate. See

United States v. Miller, 307 U.S. 174, 180 (1939) (citing seventeenth-century

commentary recognizing that “[t]he possession of arms also implied the possession of

ammunition”); Jackson v. City & Cnty. of San Francisco, 746 F.3d 953, 967 (9th Cir.

2014) (without bullets, the right to bear arms would be meaningless).




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       Just as the First and Fourteenth Amendments protect modern forms of

communications and search, “the Second Amendment extends, prima facie, to all

instruments that constitute bearable arms, even those that were not in existence at the

time of the founding.” Heller, 554 U.S. at 582; Caetano, supra (stun guns). Thus, as the

Supreme Court reiterated in Bruen, when assessing whether arms are protected by the

Second Amendment, the question is whether they are “in common use today.” 142 S.Ct.

at 2134. If they are, then they are presumptively protected by the Second Amendment,

and it is the government’s burden to prove that any efforts to restrict their possession or

use have a “well- established and representative historical analogue.” Bruen, 142 S.Ct.

at 2133. But, as noted above, in the context of a blanket prohibition such as that at

issue here with respect to the Banned Magazines, establishing such an analogue is

impossible. The State may impose a blanket prohibition only on “dangerous and

unusual” arms, but by definition, an arm in common use is not unusual. The Second

Amendment “[does] not countenance a complete prohibition on the use of the most

popular weapon chosen by Americans for self-defense in the home.” Id., 142 S. Ct. at

2128 (internal quotation marks omitted).

       The magazines the State has banned unquestionably satisfy the “common use”

test. See Duncan III, 366 F.Supp.3d at 1143-45; Duncan IV, 970 F.3d at 1142, 1146-

47. Magazines capable of holding more than 10 rounds of ammunition are commonly

owned by millions and millions of Americans for all manner of lawful purposes, including

self-defense, sporting, and hunting.7 They come standard with many of the most


       7 See Declaration of James Curcuruto ¶ 7 (“At least 150 million magazines with a

capacity greater than ten rounds are owned by law-abiding American citizens, who use
those magazines for lawful purposes.”)
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popular handguns and long guns on the market, and Americans own roughly 115

million of them, Duncan IV, 970 F.3d at 1142, accounting for “approximately half of all

privately owned magazines in the United States,” Duncan v. Bonta (“Duncan V”), 19

F.4th 1087, 1097 (9th Cir. 2021), cert. granted, judgment vacated, 142 S. Ct. 2895

(2022). Indeed, the most popular handgun in America, the Glock 17 pistol, comes

standard with a 17-round magazine. See Duncan III, 366 F.Supp.3d at 1145. In short,

there can be no serious dispute that magazines capable of holding more than 10 rounds

are bearable arms that satisfy the common use test and thus are presumptively

protected by the Second Amendment.

       In his dissent in Kolbe v. Hogan, Judge Traxler also addressed magazines such

as the Banned Magazines. He stated:

       “The record also shows unequivocally that magazines with a capacity of
       greater than 10 rounds are commonly kept by American citizens, as there
       are more than 75 million such magazines owned by them in the United
       States. These magazines are so common that they are standard on many
       firearms: On a nationwide basis most pistols are manufactured with
       magazines holding ten to 17 rounds. Even more than 20 years ago, fully
       18 percent of all firearms owned by civilians were equipped with magazines
       holding more than ten rounds.”

Id., 849 F.3d at 154, Traxler, J. dissenting (internal citations and quotation marks
omitted).

       Magazines such as those banned by the State are without the slightest question

commonly possessed by law abiding citizens for lawful purposes (again, the dispositive

fact under Heller and Bruen). Therefore, based on this fact alone, the Statute is

unconstitutional.




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       B.      There Is No Historical Tradition of Restricting Firearms Capable of
               Firing More Than 10 Rounds Without Reloading.

       Even if magazines such as those banned by the State were not in common use,

the State cannot come close to proving that restrictions on firing or magazine capacity

are part of the nation’ s historical tradition. To the contrary, history and tradition

establish the exact opposite. See Duncan III, 366 F.Supp.3d at 1149-53; Duncan IV,

970 F.3d at 1147-51 (when the Founders ratified the Second Amendment, no laws

restricted ammunition capacity despite multi-shot firearms having been in existence for

some 200 years); Duncan V, 19 F.4th at 1148-59 (Bumatay, J., dissenting)

(summarizing history)

       Firearms capable of firing more than 10 rounds without reloading are nothing

new. “[T]he first firearm that could fire more than ten rounds without reloading was

invented around 1580,” and several such handguns and long guns “pre-date[d] the

American Revolution.” Duncan IV, 970 F.3d at 1147. Well before the framing of the

Fourteenth Amendment, they had become “common,” as witnessed by popular firearms

such as the Pepperbox-style pistol, which could “shoot 18 or 24 shots before reloading

individual cylinders.” Id. By the end of the Civil War, “repeating, cartridge-fed firearms”

were ubiquitous, and many of the most popular models had magazines that held more

than 10 rounds. Id. at 1148. For example, the Winchester 66 had a 17- round magazine

and could fire all 17 rounds plus the one in the chamber in under nine seconds. Id. Later

models, including the famed Winchester 73 (“the gun that won the West”), likewise had

magazines that held more than 10 rounds and sold a combined “over 1.7 million total

copies” between 1873 and 1941. Id.



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       As detachable box-style magazines became more popular around the turn of the

twentieth century, so too did rifles and handguns with box magazines capable of holding

more than 10 rounds, such as Auto Ordnance Company’s semi-automatic rifle (1927, 30

rounds) and the Browning Hi-Power pistol (1935, 13 rounds). Id. In 1963, the U.S.

government sold hundreds of thousands of surplus 15- and 30-round M-1 carbines to

civilians at a steep discount. Id. That same year, the first AR-15 rifle was released. Id.

The AR-15 comes standard with a 30-round magazine and as noted above, remains the

most popular rifle in America today. Id.; Duncan III, 366 F.Supp.3d 1145. Today, the

most popular handgun in America is the Glock 17, which comes standard with a 17-

round magazine. Duncan IV, 970 F.3d at 1142, 1148. Many other popular pistols

likewise come standard with magazines that hold more than 10 rounds. For example,

the Beretta Model 92 comes standard with a sixteen-round magazine, Smith & Wesson

M&P 9 M2.0 nine-millimeter magazines contain seventeen rounds, and the Ruger SR9

has a 17-round standard magazine. Id. at 1142 & n.4.

       Firearms capable of firing more than 10 rounds predate the founding by more

than a century. See Duncan IV, 970 F.3d at 1147. Such arms were neither novelties nor

confined to the military; to the contrary, they were marketed to and bought by civilians

from the start. “[I]n 1821, the New York Evening Post described the invention of a new

repeater as ‘importan[t], both for public and private use,’ whose ‘number of charges may

be extended to fifteen or even twenty.’” Ass ‘n of N J. Rifle & Pistol Clubs, Inc. v. Att’y

Gen. of N J. (“ANJRPC II”), 974 F.3d 237, 255 (3d Cir. 2020) (Matey, dissenting). The

popular Pepperbox-style pistol was marketed to civilians, the Girandoni air rifle “was

famously carried on the Lewis and Clark expedition,” and millions of Winchesters were


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sold to civilians in the decades following the ratification of the Fourteenth Amendment.

Duncan IV, 970 F.3d at 1147-48; Duncan V, 19 F.4th at 1154-55 (Bumatay, J.,

dissenting). And the federal government itself sold hundreds of thousands of surplus 15-

and 30-round M-1 carbines to civilians at a steep discount just as the AR-15 and its

standard 30-round magazine came on the market. Duncan IV, 970 F.3d at 1148.

       The historical record confirms that, “[l]ong before 1979, magazines of more than

ten rounds had been well established in the mainstream of American gun ownership.”

David B. Kopel, The History of Firearm Magazines and Magazine Prohibitions, 78 Alb.

L. Rev. 849, 862 (2015). In short, arms that could fire more than 10 rounds without

reloading would by no means have been “unforeseen inventions to the Founders.”

Duncan IV, 970 F.3d at 1147. They have been available for centuries, and “magazines

of more than ten rounds had been well established in the mainstream of American gun

ownership” “long before” a handful of capacity restrictions started to pop in the late

twentieth century. See Kopel, supra at 862-64.

       There were no restrictions on firing or magazine capacity when either the Second

or the Fourteenth Amendment was ratified. The first such laws did not come until the

Prohibition Era, and, even then, they were few and far between. Many states and the

federal government began regulating automatic weapons almost as soon as they came

on the market in the 1920s and 1930s. In contrast, only during Prohibition did a handful

of state legislatures enact capacity restrictions, many of which were soon repealed.

Duncan IV, 970 F.3d at 1150. These states included Michigan (1927, repealed in

1959), Rhode Island (1927, repealed in 1975), and Ohio (1933, repealed in 2014). Id.

at n.10. It is important to note that the Rhode Island and Michigan statutes applied only


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to weapons rather than magazines, and the Ohio statute was interpreted to only forbid

the simultaneous purchase of a firearm and compatible 18-round magazine. Id.

       These anomalous laws not only were “short lived,” Bruen, 142 S.Ct. at 2155, but

emerged several decades after the isolated “late-19th-century” territorial laws that the

Supreme Court found to be too few and too late to have meaningful historical relevance.

Id. at 2154; cf Heller II, 670 F.3d at 1292 (Kavanaugh, J., dissenting) (six states not

enough to make a “strong showing that such laws are common”). Here too, then, “the

bare existence of these localized restrictions cannot overcome the overwhelming

evidence of an otherwise enduring American tradition permitting law-abiding citizens to

keep and bear arms with a firing capacity of more than 10 rounds.

       The first state to restrict magazine capacity as such (New Jersey) did not do so

until 1990 – more than two centuries after the founding. As with “assault weapon” bans,

that is far too late to demonstrate anything about the original meaning of the Second or

Fourteenth Amendment. The federal government did not restrict magazine capacity

until 1994, and Congress allowed that law to expire in 2004. Since 1990, when the first

magazine capacity restriction was adopted, a total of 12 states have enacted such

restrictions, with half of those restrictions enacted within the last decade.8 The State

thus cannot even identify a “well-established” tradition of restricting magazine capacity




       8 The statutes and the year they were enacted are: N.J. Stat. Ann. §2C:39- l(y), -

3G) (1990); 1992 Haw. Sess. Laws 740, 742 (1992); Md. Code Ann., Crim. Law §4-305
(1994); Cal. Penal Code §§32310, 16740 (1999); Mass. Gen. Laws ch. 140 §§121,
131a (1998); N.Y. Penal Law §265.36 (2000); Colo. Rev. Stat. §18-12-302(1)) (2013);
Conn. Gen. Stat. §53- 202w (2013); Vt. Stat. Ann. tit. 13, §4021 (2017); Wash. Rev.
Code Ann. §§9.41.010, .370 (2022); 11 R.I. Gen. Laws Ann. § 11-47.1-3 (2022); Del.
Code Ann. tit. 11, § 1469 (2022).
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today, let alone identify any representative historical analogue that might justify its

confiscatory magazine ban. Bruen, 142 S.Ct. at 2133 (emphasis omitted).

       Yet, despite a long historical tradition of law-abiding citizens possessing these

firearms for lawful purposes, there is no similar tradition of government regulation, let

alone confiscation. To the contrary, the historical tradition of advancement in firearms

technology reflects a steady trend toward increasing the firing capacity of the most

popular and common arms, with no corresponding trend of government restrictions on

firing capacity. The State thus cannot possibly meet its burden of “affirmatively prov[ing]

that its [magazine ban] is part of the historical tradition that delimits the outer bounds of

the right to keep and bear arms.” Bruen, 142 S.Ct. at 2127.

                                       CONCLUSION

       For the foregoing reasons, Plaintiffs respectfully request the Court to enter an

order preliminary enjoining enforcement of CONN. GEN. Stat. § 53-202c(a) and CONN.

GEN. STAT. § 53-202w(b) and (c).

                                                          THE PLAINTIFFS
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                                  CERTIFICATION

       I hereby certify that on November 4, 2022, a copy of foregoing was filed
electronically. Notice of this filing will be sent by e-mail to all appearing parties by
operation of the Court’s electronic filing. Parties may access this filing through the
Court’s system.

/s/ Barry K. Arrington
Barry K. Arrington




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